Case 1:17-cv-04327-LLS-RWL Document 27-2 Filed 06/21/17 Page 1 of 3




EXHIBIT B
     Case 1:17-cv-04327-LLS-RWL Document 27-2 Filed 06/21/17 Page 2 of 3




                                           Delaware                                         Page 1

                                                       The First State



             I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF

    DELAWARE, DO HEREBY CERTIFY THE ATTACHED IS A TRUE AND CORRECT

    COPY OF THE CERTIFICATE OF DISSOLUTION OF “CHANNELREPLY INC.”,

    FILED IN THIS OFFICE ON THE TWENTIETH DAY OF JUNE, A.D. 2017,

    AT 10:17 O`CLOCK A.M.




6427452 8100                                                                Authentication: 202741039
SR# 20174838133                                                                         Date: 06-20-17
You may verify this certificate online at corp.delaware.gov/authver.shtml
Case 1:17-cv-04327-LLS-RWL Document 27-2 Filed 06/21/17 Page 3 of 3
